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1                                                                          THE HON. RONALD B. LEIGHTON

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6                                      UNITED STATES DISTRICT COURT

7                          FOR THE WESTERN DISTRICT OF WASHINGTON

8                                                            ATTACOMA

9    CHINOOK INDIAN NATION,an Indian Tribe
     and as successor-in-interest to The Lower
10   Band of Chinook Indians; ANTHONY A.
     JOHNSON,individually and in his capacity as
11
     Chairman ofthe Chinook Indian Nation; and
12   CONFEDERATED LOWER CHINOOK TRIBES
     AND BANDS,a Washington nonprofit
                                                                   Case No. 3:17-05668-RBL
13   corporation.

14
                                                                   PLAINTIFFS'RESPONSE TO
                               Plaintiffs.
                                                                   DEFENDANTS'MOTION TO DISMISS
15                    V.
                                                                  (NOTED ON MOTION CALENDAR FOR
16   RYAN K.ZINKE,in his capacity as Secretary                     FEBRUARY 9,2018)
     ofthe U.S. Department of Interior; U.S.
17
     DEPARTMENT OF INTERIOR; BUREAU OF                             ORAL ARGUMENT REOUESTED

18   INDIAN AFFAIRS,OFFICE OF FEDERAL
     ACKNOWLEDGMENT;UNITED STATES OF
19   AMERICA;and JOHN TAHSUDA,in his
     capacity as Acting Assistant Secretary -
20
     Indian Affairs,
21
                                Defendants.
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     Page i - PLAINTIFFS'RESPONSE TO DEFENDANTS'MOTION TO DISMISS
     4221730 /15744-001
                           LANDYE BENNETT BLUMSTEIN LLP                  THOMAS,COON,NEVPTON &FROST
                           1300 SW Fifth Avenue,Suite 3600               820 SW Second Avenue,Ste. 200
                           Portland, Oregpn 97201                        Portland,OR 97204
                           503.224-4100•503.224-4133(ftcsimUe)            503.228.5222•503.273.9175(fiusimile)
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